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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA

IN RE:
                                                            Case Number: 20-13622
Juan Jose Perez Mier
       Debtor
____________________________/

         NOTICE OF COMPLIANCE WITH ORDER SETTING DEADLINES (ECF# 38)

         Nancy K Neidich, Standing Chapter 13 Trustee ("Trustee"), files this Notice of

Compliance with Order Setting Deadlines (ECF # 38) as the Debtor has provided the documents

required to avoid dismissal but additional documents may still be due prior to confirmation.

                                      RESPECTFULLY SUBMITTED:
                                                NANCY K. NEIDICH, ESQUIRE
                                                STANDING CHAPTER 13 TRUSTEE
                                                P.O. BOX 279806
                                                MIRAMAR, FL 33027-9806

                                                     By: /s/___________________
                                                             Amy E. Carrington, Esq.
                                                             Senior Staff Attorney
                                                             FLORIDA BAR NO: 101877

                                  CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of this Notice of Compliance was served
through NEF on Robert Sanchez debtor's on August 31, 2020

                                                     /s/
                                                     Amy E Carrington, Esq
